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    Ashton, et al. v. Al Qaeda, et al.1RFY
    Federal Ins. Co., et al. v. Al Qaida, et
    al.1RFYBurnett, et al. v. Al
    Baraka Inv. & Dev. Corp., et al.1RFY
     Estate of John P. O’Neill, Sr., et al. v.
    Kingdom of Saudi Arabia, et al.1RFY
    Continental Casualty Co., et al. v.
    Kingdom of Saudi Arabia, et al.1RFY
    O’Neill, et al. v. Republic of the Sudan,
    et al.1RFYAronow, et al. v.
    Republic of Sudan1RFYBetru,
    et al. v. The Republic of Sudan1RFY
    Parker, et al. v. The Republic of the
    Sudan1RFYDQGNolan, et al. v.
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1RYHPEHU                                      Counsel for the Republic of the Sudan



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                                       (PSOR\HHRU$JHQW3URYLGHG$Q\0DWHULDO6XSSRUWZLWKLQWKH
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Anderson v. The Islamic Republic of Iran
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Anza v. Ideal Steel Supply Corp.
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Ashton v. Al Qaeda Islamic Army
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Bob Jones Univ. v. Simon
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Bolivarian Republic of Venezuela v. Helmerich & Payne Int’l Drilling Co.
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Bostock v. Clayton Cnty.
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Burrage v. United States
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Caraballo v. United States
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Ctr. for Biological Diversity v. Raimondo
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Certain Underwriters at Lloyd’s London v. Great Socialist People’s Libyan Arab
   Jamahiriya
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City of Rancho Palos Verdes v. Abrams
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Comcast Corp. v. Nat’l Ass’n of Afr. Am.-Owned Media
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Cromer Fin. Ltd. v. Berger
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Diduck v. Kaszycki & Sons Contractors, Inc.
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      Case 1:03-md-01570-GBD-SN Document 8717 Filed 11/04/22 Page 5 of 34
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Fed. Republic of Ger. v. Philipp
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Fogel v. Chestnutt
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Gater Assets Ltd. v. AC Gazsnabranzit
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Green v. City of New York
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Gustafson v. Alloyd Co.
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Halberstam v. Welch
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Hernandez v. Smith
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Hijazi v. Permanent Mission of Saudi Arabia to the UN
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Hirsh v. Arthur Andersen & Co.
   )G G&LU 

In re Islamic Republic of Iran Terrorism Litig.
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Jesner v. Arab Bank, PLC
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Khaliq v. Republic of Sudan
   1R:/ ''&2FW 

Kilburn v. Socialist People’s Libyan Arab Jamahiriya
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Leibovitch v. Islamic Republic of Iran
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Lerner v. Fleet Bank, N.A.
   )G G&LU 

Linde v. Arab Bank, PLC
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Mastafa v. Australian Wheat Bd. Ltd.
  1RFY:/ 6'1<6HSW 

Monegasque de Reassurances S.A.M. v. Nak Naftogaz of Ukr.
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Murphy v. Islamic Republic of Iran
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Owens v. Republic of Sudan
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P&V Enters. v. U.S. Army Corps of Eng’rs
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Paroline v. United States
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Reves v. Ernst & Young
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Rice v. Santa Fe Elevator Corp.
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Rimkus v. Islamic Republic of Iran
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Rothstein v. UBS
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Rubin v. Islamic Republic of Iran
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Rux v. Republic of Sudan
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Rux v. Republic of Sudan
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Scribner v. Summers
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Simon v. Republic of Iraq
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SPV OSUS, Ltd. v. UBS AG
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In re Terrorist Attacks on Sept. 11, 2001
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In re Terrorist Attacks on Sept. 11, 2001
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In re Terrorist Attacks on September 11, 2001
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United States v. Castillo
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Van Beneden v. Al-Sanusi
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Verlinden B.V. v. Cent. Bank of Nigeria
   86  

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1DW¶O&RPP¶QRQ7HUURULVW$WWDFNV8SRQWKH8QLWHG6WDWHV
 7KH&RPPLVVLRQ5HSRUW  
 KWWSJRYLQIROLEUDU\XQWHGXUHSRUW5HSRUWSGI

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         7KH 5HSRUW DQG 5HFRPPHQGDWLRQ GLVUHJDUGV IXQGDPHQWDO MXULVGLFWLRQDO IODZV LQ WKH

$PHQGHG&RPSODLQWVE\DSSO\LQJLQFRUUHFWOHJDOVWDQGDUGVWKDWFRQIOLFWZLWK6XSUHPH&RXUWDQG

6HFRQG&LUFXLWSUHFHGHQWDQGE\GLVUHJDUGLQJSULRUUXOLQJVLQWKLVYHU\VDPH0'/SURFHHGLQJ

:KHQ UHYLHZHG XQGHU WKH FRUUHFW OHJDO VWDQGDUGV DQG DSSOLFDEOH SUHFHGHQW WKH $PHQGHG

&RPSODLQWVIDLOWRDOOHJHIDFWVWKDWHVWDEOLVKDFDXVDOOLQN²IRUSXUSRVHVRIHLWKHUMXULVGLFWLRQRU

OLDELOLW\ ² EHWZHHQ 6XGDQ¶V DOOHJHG FRQGXFW DQG 3ODLQWLIIV¶ LQMXULHV LQ WKH  $WWDFNV  ,Q

SDUWLFXODU WKLV &RXUW¶V SULRU GLVPLVVDO RI FODLPV DJDLQVW VRYHUHLJQ GHIHQGDQW WKH 6DXGL +LJK

&RPPLVVLRQIRUHFORVHVWKHFODLPVDJDLQVW6XGDQKHUHAshton v. Al Qaeda Islamic Army)

6XSSG 6'1<  ³3ODLQWLIIV¶DOOHJDWLRQVDUHFRQFOXVRU\ODUJHO\ERLOHUSODWH

DQG FRQFHUQ FRQGXFW WRR WHPSRUDOO\ DQG JHRJUDSKLFDOO\ UHPRWH IURP WKH  $WWDFNV WR KDYH

SUR[LPDWHO\ FDXVHG 3ODLQWLIIV¶ LQMXULHV´   7KH $PHQGHG &RPSODLQWV¶ DOOHJDWLRQV RI 6XGDQ¶V

SXUSRUWHGPDWHULDOVXSSRUWLQWKHHDUO\WRPLGVKDOIDZRUOGDZD\DUHHYHQPRUHJHQHUDOL]HG

DQGUHPRWHWKDQWKH6+&DOOHJDWLRQVLQAshtonDQG3ODLQWLIIV¶FODLPVVKRXOGEHGLVPLVVHGRQWKLV

EDVLV

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         6XGDQ REMHFWV SXUVXDQW WR 5XOH  E  RI WKH )HGHUDO 5XOHV RI &LYLO 3URFHGXUH WR WKH

0DJLVWUDWH-XGJH¶V5HSRUWDQG5HFRPPHQGDWLRQ (&)1R DQGWKH$PHQGHG5HSRUWDQG

5HFRPPHQGDWLRQ (&)1R UHFRPPHQGLQJGHQLDOLQSDUWRI6XGDQ¶V&RQVROLGDWHG0RWLRQ

WR 'LVPLVV WKH $PHQGHG &RPSODLQWV (&) 1R    :KHQ D SDUW\ REMHFWV WR D UHSRUW DQG

UHFRPPHQGDWLRQDFRXUW³PXVWPDNHDde novo GHWHUPLQDWLRQDVWRWKHREMHFWHGWRSRUWLRQVRIWKH

5HSRUW´In re Terrorist Attacks on Sept. 11, 20011R0'/86'LVW/(;,6

DW  6'1<-XQH  'DQLHOV-  FLWLQJ86& E  & 




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           68%-(&70$77(5-85,6',&7,2181'(57+()6,$

           $     7KH5HSRUW$SSOLHVWKH,QFRUUHFW6WDQGDUGRI5HYLHZ

           7KH5HSRUWHUURQHRXVO\VWDWHVWKDWRQD5XOH E  FKDOOHQJHWRWKHOHJDOVXIILFLHQF\RI

WKHMXULVGLFWLRQDODOOHJDWLRQVDFKDOOHQJH6XGDQPDNHVKHUHWKHVWDQGDUGRIUHYLHZLVWR³WDNHDOO

IDFWVDOOHJHGLQWKHFRPSODLQWDVWUXHand draw all reasonable inferences in favor of plaintiff´

5 5 HPSKDVLVDGGHG %XW WKLV&RXUWDOUHDG\KHOGLQAshtonWKDWDOWKRXJK³WKHFRXUWJHQHUDOO\

PXVW DFFHSW WKH PDWHULDO IDFWXDO DOOHJDWLRQV LQ WKH FRPSODLQW DV WUXH´ LW ³does not draw all

reasonable inferences in the plaintiff’s favor´)6XSSGDW HPSKDVLVDGGHG  TXRWDWLRQ

RPLWWHG /LNHZLVHWKH6HFRQG&LUFXLWKDVKHOGWKDWLQDVVHVVLQJDIDFLDOFKDOOHQJHWRMXULVGLFWLRQ

RYHUDIRUHLJQVRYHUHLJQXQGHUWKH)6,$FRXUWV³are not to draw inferences from the complaint

favorable to plaintiff>@´Hijazi v. Permanent Mission of Saudi Arabia to the UN)$SS¶[

 G&LU  DOWHUDWLRQLQRULJLQDO  HPSKDVLVDGGHG 

           7KH 5HSRUW¶V DSSOLFDWLRQ RI WKH LQFRUUHFW VWDQGDUG RI UHYLHZ LV DOVR LQFRPSDWLEOH ZLWK

6XSUHPH &RXUWSUHFHGHQWKROGLQJWKDWSODLQWLIIVPXVW³VKRZ DQGQRWMXVWDUJXDEO\VKRZ ´WKH

HOHPHQWV RI DQ H[FHSWLRQ WR IRUHLJQ VRYHUHLJQ LPPXQLW\  Bolivarian Republic of Venezuela v.

Helmerich & Payne Int’l Drilling Co.6&W  :KHUHDVWKH5HSRUW DW 

FRQFOXGHV WKDW 3ODLQWLIIV VDWLVILHG WKHLU EXUGHQ E\ SOHDGLQJ WKDW 6XGDQ ³PLJKW´ KDYH SURYLGHG

PDWHULDOVXSSRUWRUWKDWVXFKVXSSRUW³PD\KDYH´OHGWRWKH$WWDFNVHelmerich UHMHFWHGWKH

ORZHUFRXUW¶VFRQFOXVLRQWKDWLWZDVHQRXJKWKDWSODLQWLIIV³PLJKW´KDYHDFODLPWKDWSURSHUW\ZDV

WDNHQLQYLRODWLRQRILQWHUQDWLRQDOODZKROGLQJWKDWWREHLQVXIILFLHQWWRHVWDEOLVKMXULVGLFWLRQXQGHU

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JURXQGV WR UHMHFW WKH 5HSRUW  See Fogel v. Chestnutt  )G   G &LU  

    UHMHFWLQJ GDPDJHV UHFRPPHQGDWLRQ ZKHUH PDJLVWUDWH MXGJH ZDV ³PLVWDNHQ LQ WKH OHJDO WHVW KH



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DSSOLHG´ 

       %     7KH5HSRUW,QFRUUHFWO\&RQFOXGHVWKDWWKH$PHQGHG&RPSODLQWV$OOHJH
               )DFWV6XIILFLHQWWR(VWDEOLVK-XULVGLFWLRQDO&DXVDWLRQ

                      7KH5HSRUW2YHUORRNV6XSUHPH&RXUW3UHFHGHQWDQG$SSOLHVWKH
                       ,QFRUUHFW6WDQGDUGIRU-XULVGLFWLRQDO&DXVDWLRQ

       %XWIRU&DXVDWLRQ,QLQYRNLQJWKH³ODZRIWKHFDVH´GRFWULQHDQGIROORZLQJWKLV&RXUW¶V

UXOLQJLQAshton WKDWEXWIRUFDXVDWLRQLVQRWUHTXLUHGXQGHU D  $RU%

WKH5HSRUW DW LJQRUHVUHFHQW6XSUHPH&RXUWSUHFHGHQWUHLWHUDWLQJWKDWEXWIRUFDXVDWLRQLVWKH

default ruleSee0RWDW(&)1R,QComcast Corp. v. National Association of African

American-Owned MediaWKH6XSUHPH&RXUWKHOG WKDWQR³WH[WXDOZDUUDQW´LVUHTXLUHGWRDVVXPH

DUHTXLUHPHQWIRU³EXWIRU´FDXVDWLRQ7KH³DQFLHQWDQGVLPSOHµEXWIRU¶FRPPRQODZFDXVDWLRQ

WHVWZHKDYHKHOGVXSSOLHVWKHµGHIDXOW¶RUµEDFNJURXQG¶UXOHDJDLQVWZKLFK&RQJUHVVLVQRUPDOO\

SUHVXPHGWRKDYHOHJLVODWHGZKHQFUHDWLQJLWVRZQQHZFDXVHVRIDFWLRQ´6&W

   FLWDWLRQRPLWWHG see also Bostock v. Clayton Cnty.6&W  

       7KH5HSRUWOLNHAshtonUHOLHVRQWKHKilburn OwensDQGRuxGHFLVLRQVIURPWKH86

&RXUWVRI$SSHDOVIRUWKH'LVWULFWRI&ROXPELDDQG)RXUWK&LUFXLWV5 5%XWWKRVHGHFLVLRQV

DOOSUHGDWHWKH6XSUHPH&RXUW¶VLQWHUYHQLQJGHFLVLRQVLQComcast DQGBostockWKDWFRQWUROKHUH

,QSDUWLFXODUKilburn DQGRuxFRQIOLFWZLWKComcast DQGBostockLQWKDWWKH\LQFRUUHFWO\ORRNWR

ZKHWKHUWKHUHZDVD³WH[WXDOZDUUDQW´LQ D  IRUUHTXLULQJEXWIRUFDXVDWLRQSee Kilburn

v. Socialist People’s Libyan Arab Jamahiriya)G '&&LU  FRQFOXGLQJ

³WKHUHLVno textual warrant´IRUUHTXLULQJ³EXWIRU´FDXVDWLRQ HPSKDVLVDGGHG Rux v. Republic

of Sudan)G WK&LU  KROGLQJ³WKHtext of the statute´GLGQRWZDUUDQWEXW

IRUFDXVDWLRQ HPSKDVLVDGGHG ,QFRQWUDVWWKH6XSUHPH&RXUWLVFOHDUQRWH[WXDOZDUUDQWLV

QHFHVVDU\EHFDXVHDVDPDWWHURIVWDWXWRU\LQWHUSUHWDWLRQSKUDVHVOLNH³EHFDXVHRI´RU³E\UHDVRQ

RI´requireDVKRZLQJRIEXWIRUFDXVDWLRQBostock6&WDWComcast6&WDW


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  7KH VDPH ORJLF H[WHQGV WR ³FDXVHG E\´ LQ  D   $ DQG %  See

Burrage v. United States86   HTXDWLQJ³FDXVHGE\´ZLWK³UHVXOWLQJIURP´

ZKLFKUHTXLUHVEXWIRUFDXVDWLRQ 

        3UR[LPDWH&DXVDWLRQ7KH5HSRUWPLVDSSOLHVWKHSUR[LPDWHFDXVHVWDQGDUGVHWIRUWKLQ

Ashton$VGLVFXVVHGLQPRUHGHWDLOEHORZXQGHUDQ\SUR[LPDWHFDXVHVWDQGDUGWKHDOOHJDWLRQV

RISXUSRUWHGPDWHULDOVXSSRUWE\6XGDQLQWKHHDUO\WRPLGV²OLNHWKHDOOHJDWLRQVDJDLQVW

WKH6DXGL+LJK&RPPLVVLRQ ³6+&´ ²DUHIDU³WRRWHPSRUDOO\DQGJHRJUDSKLFDOO\UHPRWHIURP

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Ashton)6XSSGDW

        ,Q Ashton WKLV &RXUW KHOG WKDW SUR[LPDWH FDXVH UHTXLUHV ³VRPH UHDVRQDEOH FRQQHFWLRQ´

EHWZHHQWKHGHIHQGDQW¶VDFWDQGWKHSODLQWLII¶VLQMXU\5 5 TXRWLQJAshton)6XSSGDW

 7KLV³UHDVRQDEOHFRQQHFWLRQ´VWDQGDUG³FRQWDLQVWZRVHSDUDWHEXWUHODWHGHOHPHQWV´  WKH

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LQMXU\´ DQG   WKH LQMXU\ PXVW KDYH EHHQ ³UHDVRQDEO\ IRUHVHHDEOH RU DQWLFLSDWHG DV D QDWXUDO

FRQVHTXHQFH´RIWKHGHIHQGDQW¶VDFWVAshton)6XSSGDW TXRWLQJOwens v. Republic

of Sudan )G '& &LU   7KLV&RXUWIXUWKHU H[SODLQHG³7KHSUR[LPDWH

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FRQGXFWDQGUHVXOWLVVRDWWHQXDWHGWKDWWKHFRQVHTXHQFHLVPRUHDSWO\GHVFULEHGDVPHUHIRUWXLW\¶´

Id TXRWLQJParoline v. United States 86  

        ,QLQYRNLQJWKH³UHDVRQDEOHFRQQHFWLRQ´VWDQGDUGKRZHYHUWKH5HSRUWVXJJHVWV DW 

WKDWWKHMXULVGLFWLRQDOVWDQGDUGIRUSUR[LPDWHFDXVHKHUHGRHVQRWUHTXLUHDQ\³GLUHFWUHODWLRQ´DV

UHTXLUHGE\WKHJHQHUDOWRUWVWDQGDUGIRUSUR[LPDWHFDXVH%XWDVParolineH[SODLQV²LQWKHVDPH

SDUDJUDSK TXRWHG LQ Ashton²WKH³FODVVLF WRUW QRWLRQ´ RI SUR[LPDWH FDXVH ³UHIHUV WR WKHEDVLF




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UHTXLUHPHQWWKDWWKHUHPXVWEHVRPHdirect relationEHWZHHQ´WKHGHIHQGDQW¶VDFWLRQDQGWKH

SODLQWLII¶VLQMXU\86   HPSKDVLVDGGHG  FLWDWLRQVRPLWWHG 7KH6HFRQG

&LUFXLWLQRothstein v. UBS²RQZKLFKAshton DOVRUHOLHVsee)6XSSGDW²OLNHZLVH

DGRSWV D direct relationUHTXLUHPHQW IRU SUR[LPDWH FDXVDWLRQ See )G   G &LU

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DOOHJHGYLRODWLRQOHGdirectly WRWKHSODLQWLII¶VLQMXULHV¶´ FLWDWLRQRPLWWHG 7KXVFRQWUDU\WRWKH

5HSRUW¶VFRQFOXVLRQ DW LPSOLFLWLQWKHWZRSDUWSUR[LPDWHFDXVHVWDQGDUGUHIHUHQFHGLQAshton

LVDUHTXLUHPHQWWKDWWKHUHEHVRPHGLUHFWUHODWLRQEHWZHHQWKHGHIHQGDQW¶VDFWDQGWKHSODLQWLII¶V

LQMXU\  1RWKLQJ LQ  D   $ RU % SURYLGHV DQ\ EDVLV WR GLVUHJDUG WKH

WUDGLWLRQDOSUR[LPDWHFDXVHVWDQGDUG

                         7KH5HSRUW0LVDSSOLHVAshtonZKLFK5HTXLUHV'LVPLVVDORI3ODLQWLIIV¶
                          &ODLPVIRU/DFNRI6XEMHFW0DWWHU-XULVGLFWLRQ

          7KRXJKWKH5HSRUWSXUSRUWVWRLQYRNHAshton¶VSUR[LPDWHFDXVHVWDQGDUGWKH5HSRUWIDLOV

    DW WRDSSO\WKDWVWDQGDUGIDLWKIXOO\KHUH7KLV&RXUWFRQFOXGHGLQAshtonWKDWDOOHJDWLRQVRI

PDWHULDOVXSSRUWE\WKH6+&DQRWKHUIRUHLJQVRYHUHLJQGHIHQGDQWGLGQRWHVWDEOLVKMXULVGLFWLRQDO

FDXVDWLRQXQGHU%See Ashton)6XSSGDW3URSHUDSSOLFDWLRQRIWKHAshton

GHFLVLRQUHTXLUHVGLVPLVVDORI3ODLQWLIIV¶FODLPVDJDLQVW6XGDQEHFDXVH3ODLQWLIIV¶DOOHJDWLRQVRI

PDWHULDOVXSSRUWKHUHDUHOHVVGLUHFWDQGDUHIDUPRUHDWWHQXDWHG³ERWKLQWLPHDQGSODFH´ id.,WKDQ

WKRVHWKH&RXUWGHHPHGLQVXIILFLHQWLQAshton

          7KH5HSRUWPLVFKDUDFWHUL]HVWKHGHILFLHQWDOOHJDWLRQVLQAshton DVEHLQJ³DJDLQVWDVHWRI

6DXGLOLQNHG FKDULWLHV >WKDW@ ZHUH VLPSO\ WRR WHQXRXV WR VXSSRUW MXULVGLFWLRQ LQ QR VPDOO SDUW

EHFDXVH LI VXSSRUW IURP WKHVH HQWLWLHV UHDFKHG DO 4DHGD LW GLG VR LQGLUHFWO\ DQG WKURXJK

LQWHUPHGLDULHV´5 5%XWWKHDOOHJDWLRQVZHUHDJDLQVWDVRYHUHLJQGHIHQGDQWWKH6+&QRW

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PDGH QXPHURXV DOOHJDWLRQV WKDW WKH 6+& SXUSRUWHGO\ SURYLGHG PDWHULDO VXSSRUW directly to al

QaedaSee, e.g.idDW UHMHFWLQJDVLQVXIILFLHQWDOOHJDWLRQVWKDW6+&SURYLGHGFRYHUMREV

IRUQXPHURXVDO4DHGDPHPEHUVDQGKDGDWOHDVWVL[PHPEHUVDO4DHGDRQLWVSD\UROO³SURYLGHG

ILQDQFLDO DQG ORJLVWLFDO VXSSRUW WR DO 4DHGD DQG LWV RSHUDWLYHV ILJKWLQJ LQ WKH %RVQLDQ :DU´

³IXQQHOHGKXQGUHGVRIWKRXVDQGVRIGROODUVWRDO4DHGD´DQG³SURYLGHGDUPVWRD6RPDOLDQIDFWLRQ

WUDLQHGE\DO4DHGDZKLFKZHUHXVHGWRILJKW$PHULFDQPLOLWDU\SHUVRQQHO´  

           7KH5HSRUW¶VDWWHPSW DW WRGLVWLQJXLVKWKHDOOHJDWLRQVDJDLQVWWKH6+&DV³PDWHULDO

VXSSRUW WR DO 4DHGD SULPDULO\ IRU DWWDFNV IDU DILHOG LQ %RVQLD´ LV PLVWDNHQ  Ashton DGGUHVVHG

DOOHJDWLRQVRI³WKH6+&¶Vdirect involvementLQWKHSRUWIROLRRISORWVDO4DHGDZDVGHYHORSLQJWR

DWWDFNthe American homeland´QRWMXVWLQ%RVQLD)6XSSGDW HPSKDVLVDGGHG 7KH

&RXUW VWLOO FRQFOXGHG WKDW WKHVH DOOHJDWLRQV ³GR QRW SURYLGH D EDVLV WR DVVHUW MXULVGLFWLRQ XQGHU

>%@RYHUWKHFODLPVDVVHUWHGDJDLQVWWKH6+&´Id

           7KHDOOHJDWLRQVDJDLQVW6XGDQKHUHDUHHYHQPRUHDWWHQXDWHGWKDQWKHDOOHJDWLRQVDJDLQVW

WKH6+&0RVWRIWKHDOOHJDWLRQVDJDLQVW6XGDQDUHKRSHOHVVO\YDJXHFRQFOXVRU\DQGGHYRLGRI

XQGHUO\LQJIDFWVHJWKDW6XGDQ³VXSSRUWHG´DWWDFNLQJWKH8QLWHG6WDWHVSee, e.g. 5 5

    FLWLQJ &$&   Ashton &RPSO    7KH IHZ FRQQHFWLRQV WKH 5HSRUW GUDZV EHWZHHQ

DOOHJDWLRQV DERXW DO 4DHGD¶V SXUSRUWHG WLPH LQ 6XGDQ DQG WKH  $WWDFNV DUH LQVXIILFLHQW WR

HVWDEOLVKMXULVGLFWLRQDOFDXVDWLRQ)RUH[DPSOHWKH5HSRUW DW SRLQWVWRDOOHJDWLRQVWKDWIURP

LWV³VDQFWXDU\´LQ6XGDQ³DO4DHGDEHJDQGHYHORSLQJWKHWDFWLFVWKDWFXOPLQDWHGLQWKH6HSWHPEHU

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IOLJKW WUDLQLQJ RFFXUUHG in the United States QRW 6XGDQ DQG DOOHJH QR 6XGDQHVH JRYHUQPHQWDO

VXSSRUWIRUVXFKWUDLQLQJId. FLWLQJ&$& 7KH5HSRUWUHIHUVWRDOOHJDWLRQVWKDW6XGDQ

³KRVWHGDPHHWLQJ´EHWZHHQWZRDO4DHGDRSHUDWLYHVid. FLWLQJ&$& EXWWKRVHDOOHJDWLRQV




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$WWDFNV$QGWKH5HSRUWUHOLHVRQDOOHJDWLRQVWKDWWKHUHZDVD³DJUHHPHQWEHWZHHQDO

4DHGD,UDQDQG6XGDQ¶V1,)´WKDW³VXJJHVWVWKHH[LVWHQFHRIDWHUURULVWFRDOLWLRQWKDWFRXOGVWULNH

WKH8QLWHG6WDWHV´5 5 FLWLQJ&$& 1HLWKHUWKH$PHQGHG&RPSODLQWVQRUWKH

&,$5HSRUWWKH\FLWHIRUWKHVHFRQFOXVRU\DOOHJDWLRQVHYHQVWDWHWKDWSudanZDVDSDUW\WRany

DJUHHPHQW LOOLFLW RU RWKHUZLVH   See &$&   Q   Q   Q   Q

    LQFRUSRUDWLQJ&,$5HSRUWE\UHIHUHQFH $WPRVWWKH³1,)´²DQDOOHJHG³SROLWLFDOSDUW\´ &$&

 ²SXUSRUWHGO\HQWHUHGDQDJUHHPHQWZLWK%LQ/DGHQDQG,UDQLQ²ten years before

the 9/11 Attacks&$&

          7KHDOOHJDWLRQVKHUHDUHDOVRPRUHDWWHQXDWHGLQWLPHWKDQWKRVHDOOHJHGDJDLQVWWKH6+&

7KH 5HSRUW DW   SODFHV XQGXH ZHLJKW RQ 3ODLQWLIIV¶ YDJXH DOOHJDWLRQV RI 6XGDQ¶V SXUSRUWHG

PDWHULDOVXSSRUWIRUDO4DHGDEHIRUH%LQ/DGHQZDVH[SHOOHGLQEXWIDLOVWRUHFRJQL]HWKDW

WKLV&RXUWDOUHDG\GHHPHGVLPLODUDOOHJDWLRQVRIPDWHULDOVXSSRUWSURYLGHGE\WKH6+&WRDO4DHGD

much closer in timeWRWKH$WWDFNVLQVXIILFLHQWWRHVWDEOLVKMXULVGLFWLRQSee, e.g. Ashton

)6XSSGDW UHMHFWLQJDVLQVXIILFLHQWDOOHJDWLRQVWKDW³IURP1996 through 19996+&

IXQQHOHGKXQGUHGVRIWKRXVDQGVRIGROODUVWRDO4DHGD´DVWRRDWWHQXDWHGWR³LPSOLFDWHWKH6+&¶V

SHUVRQDOLQYROYHPHQWRUWKDWRIDQ\RILWVHPSOR\HHVRUDJHQWVLQDQ\SDUWLFXODUWRUWLRXVDFWRUDFW

WKDWFDXVHGWKH$WWDFNV´ $VGLVFXVVHGEHORZ3ODLQWLIIV¶DOOHJDWLRQVRIPDWHULDOVXSSRUWWKDW

RFFXUUHG DIWHU %LQ /DGHQ¶V H[SXOVLRQ LQ  DUH ZKROO\ FRQFOXVRU\ DQG GR QRW HVWDEOLVK WKDW

6XGDQSURYLGHGPDWHULDOVXSSRUWWKDWFDXVHGWKH$WWDFNV

                        7KH5HSRUW,PSURSHUO\&UHGLWV9DJXHDQG6SHFXODWLYH$OOHJDWLRQV
                         WKDW$UH&RQWUDGLFWHGE\WKH&RPPLVVLRQ¶V'HWDLOHG)LQGLQJV

          ,WLVD[LRPDWLFWKDW³>J@HQHUDOFRQFOXVRU\DOOHJDWLRQVQHHGQRWEHFUHGLWHGZKHQWKH\

DUHEHOLHGE\PRUHVSHFLILFDOOHJDWLRQVRIWKHFRPSODLQW´LQ³SDSHUVDQGH[KLELWVDSSHQGHGWRWKH



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FRPSODLQW´RU³DQ\PDWWHUVRIZKLFKMXGLFLDOQRWLFHPD\EHWDNHQ´Hirsh v. Arthur Andersen &

Co.)G G&LU %XWUDWKHUWKDQJLYHGXHZHLJKWWRWKH&RPPLVVLRQ¶V

ILQGLQJV²EDVHGRQDFRPSUHKHQVLYHUHYLHZRIPLOOLRQVRISDJHVRIGRFXPHQWVDQGLQWHUYLHZVRI

PRUH WKDQ D WKRXVDQG LQGLYLGXDOV see  &RPP¶Q 5HS [Y²WKH 5HSRUW LPSURSHUO\ IDYRUV

YDJXHDQGFRQFOXVRU\DOOHJDWLRQVWKDWGRQRWVXSSRUWWKH5HSRUW¶VFRQFOXVLRQWKDW³3ODLQWLIIVKDYH

SODXVLEO\DOOHJHGWKDW6XGDQVWLOOVXSSRUWHGDO4DHGDDIWHUELQ/DGHQ¶VGHSDUWXUH´5 5see

also id.DW DFNQRZOHGJLQJ&RXUWPD\FRQVLGHU&RPPLVVLRQ5HSRUWRQPRWLRQWRGLVPLVV 

&$& LQFRUSRUDWLQJ&RPP¶Q5HS 

       7KH5HSRUWIDLOVWRFUHGLWWKH&RPPLVVLRQ¶VILQGLQJWKDWZKHQ6XGDQH[SHOOHG%LQ

/DGHQLQKHOHIW6XGDQ³VLJQLILFDQWO\ZHDNHQHG´DQG³ZLWKSUDFWLFDOO\QRWKLQJ´EHFDXVH

³WKH6XGDQHVHJRYHUQPHQWH[SURSULDWHGDOOKLVDVVHWV´&RPP¶Q5HS7KH5HSRUW

IXUWKHULJQRUHVWKH&RPPLVVLRQ¶VILQGLQJVWKDW L ZKHQ%LQ/DGHQZDVH[SHOOHGIURP6XGDQ

LQKH³ZDVLQKLVweakest positionVLQFHKLVHDUO\GD\VLQWKHZDUDJDLQVWWKH6RYLHW8QLRQ´

DQG³WKHJRYHUQPHQWRI6XGDQseized everything Bin Ladin had possessed there´ LL DIWHU%LQ

/DGHQ¶VH[SXOVLRQKH³relied on the TalibanXQWLOKHZDVDEOHWRUHLQYLJRUDWHKLVIXQGUDLVLQJHIIRUWV

E\GUDZLQJRQWLHVWRZHDOWK\6DXGLLQGLYLGXDOVWKDWKHKDGHVWDEOLVKHGGXULQJWKH$IJKDQZDULQ

WKH´DQG LLL ³>Q@RWXQWLOGLGDO4DHGDXQGHUWDNHDPDMRUWHUURULVWRSHUDWLRQRILWVRZQ

LQODUJHSDUWEHFDXVH%LQ/DGLQlost his base in Sudan´Id. DW HPSKDVHVDGGHG 7KH

5HSRUWLQVWHDGFUHGLWVYDJXHDQGVSHFXODWLYHDVVHUWLRQVIURP6WDWH'HSDUWPHQWDQG&RQJUHVVLRQDO

5HVHDUFK6HUYLFHGRFXPHQWVQRWLQJWKDW³6XGDQZDVtrying to give the impressionWKDWWKH\ZHUH

FKDQJLQJZLWKRXWVXUUHQGHULQJ,VODPLFUDGLFDOV´6XGDQ³may have workedWRFRQFHDOELQ/DGLQ¶V

WLHV´ WR FRPSDQLHV LQ 6XGDQ DQG ³+DVVDQ DO 7XUDEL ‘[c]ontinue[d] to be politically and

ideologically closeWR¶%LQ/DGHQ´5 51RQHRIWKHVHDVVHUWLRQVLVDVSHFLILFIDFWXDO




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DOOHJDWLRQWKDWHVWDEOLVKHVDQ\UHDVRQDEOHFRQQHFWLRQRUGLUHFWUHODWLRQEHWZHHQ6XGDQ¶VSXUSRUWHG

FRQGXFWDQGWKH$WWDFNVSee supra ,$ see also Ashton)6XSSGDW

        7KH5HSRUWDOVRLPSURSHUO\UHOLHVRQFRQFOXVRU\6WDWH'HSDUWPHQWFDEOHVDQGUHSRUWVWKDW

SURYLGHRQO\WKHYDJXHVWGHVFULSWLRQVRISXUSRUWHG³PDWHULDOVXSSRUWRUUHVRXUFHV´See5 5

 VWDWLQJWKDW³6XGDQFRQWLQXHGWRVHUYH DVDPHHWLQJSODFHVDIHKDYHQDQGWUDLQLQJKXE´IRUDO

4DHGD   6XFK ³PHDJHU DQG FRQFOXVRU\ VXEPLVVLRQV´ DUH LQVXIILFLHQW  See Monegasque de

Reassurances S.A.M. v. Nak Naftogaz of Ukr.)G G&LU  UHMHFWLQJ6WDWH

'HSDUWPHQW&RXQWU\5HSRUWVDV³PHDJHUDQGFRQFOXVRU\VXEPLVVLRQV´ see also%UIRU3HWLWLRQHU

$SSHOODQW DW  Monegasque de Reassurances S.A.M.  )G  LGHQWLI\LQJ UHSRUWV

UHMHFWHG LQ 6HFRQG &LUFXLW¶V RSLQLRQ DV 6WDWH 'HSDUWPHQW &RXQWU\ 5HSRUWV   8QOLNH WKH 

&RPPLVVLRQ 5HSRUW ZKLFK LV IDU PRUH GHWDLOHG DQG LGHQWLILHV WKH VRXUFHV RI WKH LQIRUPDWLRQ

UHIHUHQFHGLQLWWKH$PHQGHG&RPSODLQWVSRLQWWRWKHVH6WDWH'HSDUWPHQWPDWHULDOVZKLFKIDLOWR

LGHQWLI\WKHLUVRXUFHPDWHULDODQGGRQRWVXSSO\any specific factsHVWDEOLVKLQJWKDW6XGDQSURYLGHG

PDWHULDOVXSSRUWWRDO4DHGDRU%LQ/DGHQWKDWFDXVHGWKH$WWDFNVSee &$&see also

Ashton)6XSSGDW FODLPVWKDW³DO4DHGDPHPEHUVZHUHµEURDGO\HPEHGGHG¶LQ

6+&RIILFHVDQGXVHG6+&IDFLOLWLHVµWRSORWDWWDFNVDJDLQVWWKH:HVW¶´GLGQRWDPRXQWWR³VSHFLILF

QRQFRQFOXVRU\DOOHJDWLRQV´ 

        6LPLODUO\WKH5HSRUW DW HPSKDVL]HVWKDWWKHGHFLVLRQRIWKH8QLWHG6WDWHVWRERPEWKH

DO6KLIDSKDUPDFHXWLFDOIDFWRU\LQ.KDUWRXPIROORZLQJWKH(PEDVV\ERPELQJVSXUSRUWHGO\

LV³HYLGHQFH´WKDW6XGDQFRQWLQXHGLWVVXSSRUWWRDO4DHGDDIWHU%XWWKH&RPPLVVLRQ

H[SODLQVWKDWWKHGHFLVLRQWRFDUU\RXWWKHDO6KLIDERPELQJZDVEDVHGRQDVLQJOH&,$UHSRUW

ZKLFKUHVWHGRQ³UDWKHUXQFHUWDLQFRQQHFWLRQVEHWZHHQDO4DHGDDQGWKHDO6KLIDIDFWRU\´DQGZDV

not FRUURERUDWHGE\³LQGHSHQGHQWHYLGHQFH´&RPP¶Q5HS$QGDIWHUWKHDO6KLID




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DWWDFN³PXFKSXEOLFFRPPHQWDU\WXUQHGLPPHGLDWHO\WRVFDOGLQJFULWLFLVPWKDWWKH>DWWDFN@ZDV

WRRDJJUHVVLYH´Id.7KHGHFLVLRQE\WKH8QLWHG6WDWHVWRVWULNHWKHDO6KLIDIDFWRU\WKHUHIRUH

GRHVQRWHVWDEOLVKWKDW6XGDQSURYLGHGPDWHULDOVXSSRUWWRDO4DHGDWKDWFDXVHGWKH$WWDFNV

                       7KH5HSRUW,PSURSHUO\5HOLHVRQ9DJXHDQG&RQFOXVRU\$OOHJDWLRQV
                        ,QVXIILFLHQWWR6KRZWKDWDQ\6XGDQHVH2IILFLDO(PSOR\HHRU$JHQW
                        3URYLGHG$Q\0DWHULDO6XSSRUWZLWKLQWKH6FRSHRI+LV$XWKRULW\

        &RQWUDU\ WR WKH 5HSRUW¶V FRQFOXVLRQ DW   WKH $PHQGHG &RPSODLQWV¶ YDJXH DQG

FRQFOXVRU\DOOHJDWLRQVFDQQRWHVWDEOLVKWKDWDQ\6XGDQHVHRIILFLDOVHPSOR\HHVRUDJHQWVSURYLGHG

PDWHULDOVXSSRUWWRDO4DHGDZKLOHDFWLQJZLWKLQWKHVFRSHRIKLVRIILFHHPSOR\PHQWRUDJHQF\D

UHTXLUHPHQWIRUMXULVGLFWLRQXQGHU D  $RU%7KH5HSRUWFLWHVQROHJDO

DXWKRULW\WRVXSSRUWLWVHUURQHRXVGHWHUPLQDWLRQWKDW3ODLQWLIIVDGHTXDWHO\DOOHJHGWKDW+DVVDQDO

7XUDEL ZDV DFWLQJ DV DQ ³RIILFLDO HPSOR\HH RU DJHQW´ RI 6XGDQ  See 5 5   3ODLQWLIIV¶

DOOHJDWLRQVFRQFHUQLQJ7XUDELDUHSUHFLVHO\WKHVRUWRIQRQVSHFLILFDQGFRQFOXVRU\DOOHJDWLRQVWKDW

WKLV&RXUWKDVGHHPHGLQVXIILFLHQWWRVXVWDLQMXULVGLFWLRQSee, e.g.Ashton)6XSSGDW

 KROGLQJDOOHJDWLRQVWKDWLQGLYLGXDOVZHUH³XQGHFODUHGHPSOR\HHVDQGDJHQWVRIWKH6DXGL

JRYHUQPHQW´ZKR³UHFHLYHG³PRQH\IURPWKH6DXGLJRYHUQPHQW´ZHUHLQVXIILFLHQWWRHVWDEOLVK

MXULVGLFWLRQRYHU6DXGL$UDELDXQGHU% 7KH5HSRUWUHIHUHQFHV DW FLWLQJ&$& 

3ODLQWLIIV¶DOOHJDWLRQWKDW7XUDELDFWHGDVD³GHIDFWROHDGHURI6XGDQ´IURPXQWLO%XW

QHLWKHUWKH5HSRUWQRUDQ\$PHQGHG&RPSODLQWLGHQWLILHVIDFWXDOVXSSRUWIRUWKLVYDJXHDOOHJDWLRQ

QRUGRWKH\GHILQHZKDW³GHIDFWROHDGHU´PHDQVRUH[SODLQKRZLWTXDOLILHVVRPHRQHDVDQ³RIILFLDO

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IDFWVLQVXSSRUWWKDW³>K@LJKOHYHO>6XGDQHVH@RIILFLDOVLQFOXGLQJ3UHVLGHQW%DVKLUDFWLQJZLWKLQ

WKHVFRSHRIWKHLUGXWLHVDOOHJHGO\FDUULHGRXWWKHWRUWLRXVDFWV´5 5,QVWHDGRIFLWLQJVSHFLILF

IDFWXDODOOHJDWLRQVWKH5HSRUWVLPSO\QRWHVWKDW³3UHVLGHQW%DVKLUZDVD6XGDQHVH*RYHUQPHQW


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UHSUHVHQWDWLYH´DQGVXJJHVWVWKDW³HYLGHQFHRIPDWHULDOVXSSRUWWKURXJKRIILFLDOJRYHUQPHQWDFWV

VXSSRUWVDQLQIHUHQFHRIRIILFLDODFWLYLW\´Id. %XWWKLV³HYLGHQFH´LVQRZKHUHWREHIRXQGLQWKH

5HSRUWRU$PHQGHG&RPSODLQWV,QVWHDGWKH$PHQGHG&RPSODLQWVSRLQWWRYDULRXVWHPSRUDOO\

UHPRWHIRUPVRIVXSSRUWDOOHJHGO\SURYLGHGE\6XGDQLQFOXGLQJFRXQWHULQWHOOLJHQFHVXSSRUWLQ

WKH³HDUO\V´&$&DQGDSXUSRUWHG³RIILFLDO6XGDQHVHJRYHUQPHQWOHWWHU´WKDWDOOHJHGO\

HQDEOHGDO4DHGDRSHUDWLYHVWRE\SDVVVHFXULW\VFUHHQLQJRIWKHLUSRVVHVVLRQVin Sudan DURXQGWKH

VDPH WLPH see id.    7KHVH WHPSRUDOO\ DQG JHRJUDSKLFDOO\ DWWHQXDWHG DOOHJDWLRQV DUH

LQVXIILFLHQW WR HVWDEOLVK D UHDVRQDEOH FRQQHFWLRQ RU GLUHFW UHODWLRQ EHWZHHQ 6XGDQ¶V SXUSRUWHG

FRQGXFWDQGWKH$WWDFNV

                       7KH5HSRUW¶V5HPDLQLQJ5HDVRQVIRU&RQFOXGLQJWKDW3ODLQWLIIV+DG
                        $OOHJHG6XEMHFW0DWWHU-XULVGLFWLRQ$UH8QDYDLOLQJ

        1RQHRIWKH5HSRUW¶VUHPDLQLQJUHDVRQVIRUFRQFOXGLQJWKDW3ODLQWLIIVKDYHDOOHJHGIDFWV

JLYLQJ ULVH WR VXEMHFWPDWWHU MXULVGLFWLRQ SDVVHV PXVWHU  )RU H[DPSOH WKH 5HSRUW FLWHV Rux v.

Republic of Sudan)6XSSG ('9D DFDVHGHFLGHGLQWKHGHIDXOWFRQWH[WWR

VXSSRUWLWVFRQFOXVLRQWKDW³DVµHDUO\DV6XGDQSURYLGHG$O4DHGDPHPEHUVZLWK6XGDQHVH

GLSORPDWLF SDVVSRUWV DV ZHOO DV UHJXODU 6XGDQHVH WUDYHO GRFXPHQWDWLRQ WKDW IDFLOLWDWHG WKH

PRYHPHQWRI$O4DHGDRSHUDWLYHVLQDQGRXWRI6XGDQ´5 5%XWQRWKLQJLQWKHRux RSLQLRQ

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$UDELD¶VLQYROYHPHQWLQFOHDQVLQJSDVVSRUWVfor the 9/11 hijackers´DQGSURYLVLRQRID³IUDXGXOHQW

6DXGLSDVVSRUWin July 2001 to 9/11 mastermind.KDOLG6KHLNK0RKDPPHG´ZHUHFRQFOXVRU\DQG

LQVXIILFLHQWWRVKRZSUR[LPDWHFDXVH)6XSSGDW HPSKDVHVDGGHG 

        7KH5HSRUWDOVRSRLQWVWRDOOHJDWLRQVRIDPRQH\ODXQGHULQJVFKHPHWKURXJKZKLFK%LQ



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/DGHQDOOHJHGO\PRYHGEHWZHHQDQGPLOOLRQRXWRI6XGDQ5 5 FLWLQJAshton &RPSO

   %XW WKH $PHQGHG &RPSODLQWV GR QRW DOOHJH LQYROYHPHQW LQ WKLV VFKHPH E\ DQ\

6XGDQHVHRIILFLDOHPSOR\HHRUDJHQWOHWDORQHRQHDFWLQJZLWKLQWKHVFRSHRIKLVRUKHURIILFH

HPSOR\PHQWRUDJHQF\Id1RUGRWKH\WLHWKLVDOOHJHGVFKHPHWRWKH$WWDFNVSee id 

        7KH 5HSRUW IXUWKHU SRLQWV WR default judgments UHJDUGLQJ WKH (PEDVV\ DQG 866 Cole

ERPELQJV DV HYLGHQFH WKDW 6XGDQ FRQWLQXHG WR SURYLGH PDWHULDO VXSSRUW WR DO 4DHGD DIWHU %LQ

/DGHQ¶V H[SXOVLRQ LQ   5 5   %XW WKRVH GHIDXOW MXGJPHQWV ZHUH EDVHG XSRQ

XQFRQWHVWHGILQGLQJVWKDW6XGDQKDGIDFLOLWDWHGWKHGHOLYHU\RI³ZHDSRQV´DQG³H[SORVLYHV´WRWKH

WHUURULVWVZKRFDUULHGRXWWKHVHDWWDFNVin nearby countriesAshton &RPSO&$&

7KHUHDUHQRFRPSDUDEOHDOOHJDWLRQVKHUHFRQQHFWLQJ6XGDQWRWKH$WWDFNVZKLFK

RFFXUUHG RQ WKH RWKHU VLGH RI WKH ZRUOG  See Ashton  ) 6XSS G DW  ILQGLQJ DOOHJHG

PDWHULDOVXSSRUWSURYLGHGLQ%RVQLD³IDUUHPRYHGERWKLQWLPHDQGSODFHIURPWKH$WWDFNV´ 

        7KH 5HSRUW DOVR UHIHUHQFHV 6XGDQ¶V DOOHJHG PRELOL]DWLRQ RI LWV SXUSRUWHG ³VRYHUHLJQ

PLJKW´5 5%XWWKHDOOHJDWLRQVVXSSRUWLQJVXFK³VRYHUHLJQPLJKW´DUHDJDLQQRQVSHFLILF

DQGFRQFOXVRU\DQGVXSSRUWQRUHDVRQDEOHFRQQHFWLRQRUGLUHFWUHODWLRQEHWZHHQWKDW³VRYHUHLJQ

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/DGHQ³6XGDQHVHVHFXULW\VHUYLFHVZRUNHGZLWKDO4DHGDWRYHWSRWHQWLDOUHFUXLWV´DQGDO4DHGD

RSHUDWHGWUDLQLQJFDPSV³ZHUHSURWHFWHGIURPORFDO>6XGDQHVH@SROLFHE\6XGDQHVHLQWHOOLJHQFH´

5 5%XWWKHVHDUHFRQFOXVRU\DOOHJDWLRQVRIDIHZDGKRFLQVWDQFHVRISXUSRUWHGDVVLVWDQFH

E\³LQWHOOLJHQFHVHUYLFHV´WKDWDOOHJHGO\KHOSHGDO4DHGDWR³WUDQVIRUP´7KLV&RXUWSUHYLRXVO\

IRXQG LQVXIILFLHQW VLPLODU JHQHUDOL]HG DOOHJDWLRQV RI PDWHULDO VXSSRUW WKDW DOORZHG DO 4DHGD WR

³GHYHORS´ DQG LW VKRXOG GR VR DJDLQ KHUH  Ashton  ) 6XSS G DW   UHMHFWLQJ DV

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        &      7KH5HSRUW,QFRUUHFWO\&RQFOXGHVWKDWWKH$PHQGHG&RPSODLQWV$OOHJH
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                        7KH&RXUW/DFNV6XEMHFW0DWWHU-XULVGLFWLRQ2YHUWKH&ODLPVRI
                         )DPLO\0HPEHUVRI9LFWLPV

        7KH5HSRUWLQFRUUHFWO\FRQFOXGHVWKDWWKH&RXUWKDVVXEMHFWPDWWHUMXULVGLFWLRQRYHUFODLPV

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VWDWXWRU\WHUPVPXVWEH³FRQVLVWHQWZLWKWKHKLVWRU\DQGVWUXFWXUHRIWKH)6,$´Rubin v. Islamic

Republic of Iran6&W  see also Helmerich6&WDW7KH

SURSHUUHDGLQJRI D  $ LL OLPLWVMXULVGLFWLRQWRDFWLRQVEURXJKWE\WKHLQGLYLGXDOVNLOOHG

RU LQMXUHG LQ WKH  $WWDFNV RU WKHLU SHUVRQDO UHSUHVHQWDWLYHV DQG GRHV QRW H[WHQG WR IDPLO\

PHPEHUVEULQJLQJVRODWLXPFODLPVLQWKHLURZQULJKW

        7KH SODLQ PHDQLQJ RI  $ LV WKDW LPPXQLW\ LV ZLWKGUDZQ IRUFODLPV RI HLWKHU L  D

³YLFWLP´ZKRZDVLQMXUHGDQGKDVWKHUHTXLVLWH86QDWLRQDOLW\RUHPSOR\PHQWRU LL D³FODLPDQW´

DFWLQJ DV WKH ³OHJDO UHSUHVHQWDWLYH´ RI D SHUVRQ ZKR ZDV NLOOHG RU LQFDSDFLWDWHG D ³YLFWLP´  LI

HLWKHU WKH FODLPDQW KDV RU WKH YLFWLP KDG WKH UHTXLVLWH 86 QDWLRQDOLW\ RU HPSOR\PHQW  See

$ D   D  $ LL  F   7KH WHUP ³FODLPDQW´ LV UHTXLUHG EHFDXVH D ³YLFWLP´ FDQQRW

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VXSSRUWV WKLV QDWXUDO UHDGLQJ  See +5 5HS 1R  DW    H[SODLQLQJ ³ZKHUH WKH

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ZURQJIXOGHDWKPD\EULQJVXLW´ 7KH5HSRUW¶VHUURQHRXVLQWHUSUHWDWLRQ DW WKDW³FODLPDQW´

HVVHQWLDOO\DSSOLHVWRDQ\RQHZKREULQJVDFODLPZRXOGUHQGHU³YLFWLP´PHDQLQJOHVVDQGYLRODWH

WKHFDQRQRIVWDWXWRU\FRQVWUXFWLRQWKDWFRXUWVVKRXOG³DYRLGDUHDGLQJZKLFKUHQGHUVVRPHZRUGV



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DOWRJHWKHUUHGXQGDQW´See Gustafson v. Alloyd Co.86  0RUHRYHUWKH

5HSRUW¶V LQFRUUHFW UHDGLQJ UHQGHUV $ D  RXW RI VWHS ZLWK  $ F  XQOLNH 6XGDQ¶V

SURIIHUHGLQWHUSUHWDWLRQZKHUHDIRUHLJQVWDWH¶VLPPXQLW\ZRXOGEHZLWKGUDZQRQO\IRUFODLPVRI

SHUVRQVZKRTXDOLI\WREULQJFODLPVXQGHUWKHH[FOXVLYHIHGHUDOFDXVHRIDFWLRQLQ$ F .

See, e.g.Rubin6&WDW

        )DPLO\PHPEHU 3ODLQWLIIV DOVR ODFN VWDQGLQJ XQGHU  % DQG WKH 5HSRUW¶V FRQWUDU\

FRQFOXVLRQLJQRUHVWKHSODLQWH[WRIWKDWVWDWXWHDVZHOOSee 5 56HFWLRQ% E ZLWKGUDZV

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IRU physical injury WR SHUVRQ RU SURSHUW\ RU death RFFXUULQJ LQ WKH 8QLWHG 6WDWHV´  HPSKDVLV

DGGHG 7KH5HSRUWIRFXVHVRQO\RQWKHILUVWSDUWRIWKHVWDWXWHWKDWWKHIDPLO\PHPEHU3ODLQWLIIV

DUHVHHNLQJPRQH\GDPDJHVEXWLJQRUHVWKDWWKHPRQH\GDPDJHVPXVWEHWRFRPSHQVDWHIRUD

physical injuryRUdeath VXIIHUHGE\WKHSHUVRQEULQJLQJWKHFODLPRURQEHKDOIRIWKDWSHUVRQLI

WKHUHZDVLQFDSDFLWDWLRQRUGHDWK7KH)6,$GRHVQRWGHILQH³SK\VLFDOLQMXU\´EXWWKLV&LUFXLWKDV

PDGH FOHDU WKDW SK\VLFDO LQMXU\ LV DFRQFHSW GLVWLQFW IURP HPRWLRQDO GLVWUHVV See, e.g. United

States v. Castillo)WK G&LU  H[SODLQLQJWKDW³SK\VLFDOLQMXU\´LVGHILQHG

XQGHU1HZ<RUNODZDV³LPSDLUPHQWRISK\VLFDOFRQGLWLRQRUVXEVWDQWLDOSDLQ´ 

                       7KH&RXUW/DFNV6XEMHFW0DWWHU-XULVGLFWLRQ2YHUWKH&ODLPVRI
                        &RUSRUDWH3ODLQWLIIV

        7KH5HSRUWLQFRUUHFWO\FRQFOXGHV DW WKDW$ G SURYLGHVDEDVLVIRUVXEMHFW

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$ D  $ LL DEURJDWHV6XGDQ¶VVRYHUHLJQLPPXQLW\only IRUDFWLRQVEURXJKWE\DSODLQWLII

ZKR LV D ³QDWLRQDO RI WKH 8QLWHG 6WDWHV´ PHPEHU RI WKH DUPHG IRUFHV RU 86 JRYHUQPHQW

HPSOR\HHRUFRQWUDFWRU7KH5HSRUWFRUUHFWO\UHFRJQL]HV DW WKDWWKH&RUSRUDWH3ODLQWLIIVGR

QRWIDOOLQWRDQ\RIWKHVHFDWHJRULHV\HWFRQFOXGHVWKDWWKHLUFODLPVPD\SURFHHGRQDVXEURJDWLRQ



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EDVLV  6XFK D FRQFOXVLRQ UHQGHUV WKH MXULVGLFWLRQDO OLPLWV LQ $ D  $ LL  PHDQLQJOHVV

See Fed. Republic of Ger. v. Philipp  6 &W     ³>7@KH WHUURULVP H[FHSWLRQ

HOLPLQDWHVVRYHUHLJQLPPXQLW\IRUVWDWHVSRQVRUVRIWHUURULVPbut only forFHUWDLQKXPDQULJKWV

FODLPVbrought by certain victimsDJDLQVWFHUWDLQGHIHQGDQWV´ HPSKDVHVDGGHG 

        7KH 5HSRUW FLWHV DW   Certain Underwriters at Lloyd’s London v. Great Socialist

People’s Libyan Arab Jamahiriya)6XSSG ''& WRVXSSRUWWKHXQWHQDEOH

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³QDWLRQDOV RI WKH 8QLWHG 6WDWHV´  7KH\ RIIHU RQO\ D FRQFOXVRU\ DOOHJDWLRQ LQ D IRRWQRWH  ³7KH

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PDWWHU MXULVGLFWLRQ RYHU 6XGDQ  7KH 5HSRUW¶V VWDWHPHQW WKDW  % E  DQG  % F  ³GR

GLIIHUHQWWKLQJV´DGRSWVDQLQWHUSUHWDWLRQEURDGHUWKDQZKDWWKHSODLQWH[WRIWKHVWDWXWHSHUPLWV

See 5 56HFWLRQV% E DQG F PXVWEHUHDGWRJHWKHUVXFKWKDW% E OLIWVWKH

MXULVGLFWLRQDOEDURQFDXVHVRIDFWLRQDJDLQVWIRUHLJQVWDWHVRQO\IRUWKH$7$FODLPVVSHFLILFDOO\

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EURXJKW³LQDFFRUGDQFHZLWKVHFWLRQ´See 86&% F see also City of Rancho

Palos Verdes v. Abrams86   ³$VZHKDYHVDLGLQDGLIIHUHQWVHWWLQJµ>W@KH

H[SUHVVSURYLVLRQRIRQHPHWKRGRIHQIRUFLQJDVXEVWDQWLYHUXOHVXJJHVWVWKDW&RQJUHVVLQWHQGHG




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WRSUHFOXGHRWKHUV¶´ FLWDWLRQRPLWWHG $QGFODLPVEURXJKWXQGHUSODLQO\FDQEHEURXJKW

RQO\ E\ ³QDWLRQDOV RI WKH 8QLWHG 6WDWHV´ ZKLFK GR QRW LQFOXGH FRUSRUDWLRQV  See  86&

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6SHFLILFDOO\ F  DOORZHG³SODLQWLIIVLQDOUHDG\SHQGLQJFDVHVWRPRYHIURPWKHIRUPHU



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WHUURULVP H[FHSWLRQ WR $ only ZKHUH WKH\ ZRXOG RWKHUZLVH EH KDPSHUHG E\ WKH SULRU

SURYLVLRQVDSSOLFDEOHWRWKHLURULJLQDOVXLW´Rimkus v. Islamic Republic of Iran)6XSSG

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QRWDEO\3ODLQWLIIVGRQRWPHHWWKHUHTXLUHPHQWVRI F  EHFDXVHno judgment exists LQDQ\

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v. Republic of Iraq)G '&&LU PHUHO\KHOGWKDW³FRXUWVUHWDLQMXULVGLFWLRQ

SXUVXDQW WR  D   RYHU FDVHV WKDW ZHUH SHQGLQJ XQGHU WKDW VHFWLRQ ZKHQ WKH &RQJUHVV

HQDFWHGWKH1'$$´Id.DW$QGVan Beneden v. Al-Sanusi)G '&&LU 

Anderson v. The Islamic Republic of Iran  ) 6XSS G  ''&   DQG Murphy v.

Islamic Republic of Iran)6XSSG ''& DOOLQWHUSUHWHG F  ZLWKRXW

WKHEHQHILWRIDGYHUVDULDODUJXPHQWSee Bob Jones Univ. v. Simon86Q  

    ILQGLQJGHFLVLRQODFNHG³SUHFHGHQWLDOZHLJKW´ZKHUHFDVHGLGQRW³LQYROYH>H@DWUXO\DGYHUVDU\

FRQWURYHUV\´ 

          )XUWKHUPLVLQWHUSUHWLQJKhaliq v. Republic of Sudan1R:/

    ''&2FW WKH5HSRUWLQFRUUHFWO\FRQFOXGHV DW WKDW³DOORZLQJ>3ODLQWLIIV¶@FDVHV

WREHEURXJKWWKURXJK F  GRHVQRWPDNH F  VXSHUIOXRXV´7RWKHFRQWUDU\LI

SODLQWLIIV ZHUH DOORZHG WR EULQJ $ FODLPV VR ORQJ DV any UHODWHG  D   DFWLRQ

UHPDLQHG SHQGLQJ DVWKH 5HSRUW VXJJHVWVWKH\DUHDOORZHGWRGRKHUH  F  ZRXOG EH




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HQWLUHO\XQQHFHVVDU\,QVWHDG F  DQG F  DGGUHVVWZRGLIIHUHQWVFHQDULRVQHLWKHURI

ZKLFKHQFRPSDVVHV3ODLQWLIIV¶DFWLRQV7KH5HSRUW¶VMXGLFLDOHIILFLHQF\FRQFHUQV DW DUHDOVR

PLVJXLGHG3ODLQWLIIVFRXOGKDYHDYRLGHGUHOLDQFHRQDQLQFRUUHFWLQWHUSUHWDWLRQRI F LI

RQO\ WKH\ KDG DPHQGHG WKHLU FRPSODLQWV WR DGG $ DV D EDVLV IRU MXULVGLFWLRQ DQ\ WLPH

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DUH MXULVGLFWLRQDO LV DQ RSHQ TXHVWLRQ´  6KRXOG WKLV &RXUW KROG WKDW 3ODLQWLIIV PD\ QRW EULQJ

$DFWLRQVWKURXJK F  LWVKRXOGIXUWKHUKROGWKDW3ODLQWLIIVPD\QRWEULQJVXFK

DFWLRQVWKURXJK5XOH F RIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUH8QGHU5XOH F ZKHUHD

VWDWXWHRIOLPLWDWLRQLVMXULVGLFWLRQDOSODLQWLIIVPD\QRW³JREDFNLQWLPH´WRFXUHMXULVGLFWLRQDO

GHIHFWV  Hernandez v. Smith  ) $SS¶[   WK &LU    6HFWLRQ$ E  LV

MXULVGLFWLRQDODVLWOLPLWVWKHWLPLQJRIWKHFRXUW¶VSRZHUWRKHDUDQ³DFWLRQ´EURXJKW³XQGHUWKLV

VHFWLRQ´ SeeP&V Enters. v. U.S. Army Corps of Eng’rs)G '&&LU 

    KROGLQJ86& D ZKLFKFRQWDLQHGDGHDGOLQHWREULQJDQ³DFWLRQ´DJDLQVWWKH8QLWHG

6WDWHV ZDV MXULVGLFWLRQDO  Ctr. for Biological Diversity v. Raimondo 1R   :/

DW  ''&-XO\  ³ D LVDMXULVGLFWLRQDOFRQGLWLRQattached toWKH

JRYHUQPHQW¶VZDLYHURIVRYHUHLJQLPPXQLW\´ HPSKDVLVDGGHG 

          %    7KH5HSRUW,QFRUUHFWO\&RQFOXGHVWKDW3ODLQWLIIV2WKHUWKDQWKHO’Neill
                 3ODLQWLIIV+DYH%URXJKW7LPHO\$FWLRQV

          7KH 5HSRUW LV DOVR LQFRUUHFW LQ DOORZLQJ WKH Ashton Burnett Federal Insurance DQG

Continental Casualty3ODLQWLIIVWREULQJWKHLUXQWLPHO\86&FODLPVDJDLQVW6XGDQ

5 5$P5 5$VGLVFXVVHGLPPHGLDWHO\DERYH5XOH F FDQQRWEHXVHGWRFXUH

MXULVGLFWLRQDO GHIHFWV LQ D FRPSODLQW  See Hernandez  ) $SS¶[ DW   $W WKH WLPH



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3ODLQWLIIV ILOHG WKHLU FRPSODLQWV WKH RQO\ SRWHQWLDO MXULVGLFWLRQDO EDVLV IRU WKHLU FODLPV DJDLQVW

6XGDQZDV D  DQGWKH\ZHUHH[SUHVVO\EDUUHGIURPDVVHUWLQJFODLPVXQGHUSee

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          7KH5HSRUW¶VFRQFOXVLRQWKDWWKHVWDWXWHRIOLPLWDWLRQVIRUFODLPVDJDLQVWIRUHLJQ

VWDWHVLVQRQMXULVGLFWLRQDOLVDOVRLQFRUUHFW5 57KHDYDLODELOLW\RIDFODLPDJDLQVWD

IRUHLJQVWDWHGHSHQGVRQWKHH[LVWHQFHRIMXULVGLFWLRQXQGHU%86&% F 7KXV

WKH WLPH EDU RQ DFWLRQV DJDLQVW IRUHLJQ VWDWHV XQGHU  LV QHFHVVDULO\ ³DWWDFKHG´ WR WKH

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          &203/$,17667$7($&/$,0$*$,16768'$1

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                 &ODLP8QGHUWKH$7$

                        7KH$PHQGHG&RPSODLQWV)DLOWR$OOHJHWKDW6XGDQ3UR[LPDWHO\
                         &DXVHGWKH$WWDFNVWKDW,QMXUHG3ODLQWLIIV

          7KH5HSRUWDGGUHVVHVWKH$7$¶VFDXVDWLRQUHTXLUHPHQWLQDVLQJOHVHQWHQFHVWDWLQJZLWKRXW

DQDO\VLV³3UR[LPDWHFDXVDWLRQLVVXIILFLHQW´5 5,QGLVSHQVLQJZLWK³EXWIRU´FDXVDWLRQ

WKH 5HSRUW LJQRUHV WKDW LQ Rothstein WKH 6HFRQG &LUFXLW UHTXLUHG WKDW SODLQWLIIV DOOHJH IDFWV

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KLVLQMXU\EXWZDVWKHSUR[LPDWHFDXVH´RISODLQWLIIVLQMXULHVRothstein)GDW DQDO\]LQJ

SULPDU\OLDELOLW\ FODLPV XQGHU WKH $7$ DQG GLVPLVVLQJ IRU ODFN RI SUR[LPDWH FDXVH  FLWDWLRQ

RPLWWHG  HPSKDVLVDGGHG see alsoComcast6&WDWBostock6&WDW

          7RVKRZSUR[LPDWHFDXVH³WKHFHQWUDOTXHVWLRQLVµZKHWKHUWKHDOOHJHGYLRODWLRQOHG

directly WR WKH SODLQWLII¶V LQMXULHV¶´  Rothstein  )G DW  TXRWLQJ Anza v. Ideal Steel

Supply Corp.86  Caraballo v. United States)G G&LU

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SURGXFHVWKDWHYHQWDQGZLWKRXWZKLFKWKDWHYHQWZRXOGQRWKDYHRFFXUUHG´ 

        7KHSUR[LPDWHFDXVHUHTXLUHPHQWLVHTXDOO\DSSOLFDEOHWRDLGLQJDQGDEHWWLQJFODLPVXQGHU

WKH$7$7KH6HFRQG&LUFXLWKDVKHOGWKDWSUR[LPDWHFDXVHLVLQFRUSRUDWHGLQWKHWRUWFRQFHSWRI

VXEVWDQWLDO DVVLVWDQFH D FRUH HOHPHQW RI WKH Halberstam IUDPHZRUN WKDW -$67$ H[SUHVVO\

HQGRUVHGSPV OSUS, Ltd. v. UBS AG)G G&LU $VDUHVXOW³DLGHUDQG

DEHWWRUOLDELOLW\UHTXLUHVWKHLQMXU\WREHDGLUHFWRUUHDVRQDEO\IRUHVHHDEOHUHVXOWRIWKHFRQGXFW´

Cromer Fin. Ltd. v. Berger )6XSSG 6'1< ,QGHHGLQDFDVHUHOLHG

XSRQE\WKLV&RXUWLQCromerWKH6HFRQG&LUFXLWH[SUHVVO\UHOLHGRQHalberstam LWVHOILQKROGLQJ

WKDW³>Z@KHWKHUWKHDLGUHQGHUHGLVµHQRXJK¶WRZDUUDQWWKHLPSRVLWLRQRIOLDELOLW\LVHVVHQWLDOO\D

SUR[LPDWHFDXVHLQTXLU\´Diduck v. Kaszycki & Sons Contractors, Inc.)G G

&LU  FLWLQJHalberstam v. Welch)G '&&LU $QGWKH6HFRQG

&LUFXLW KDV H[SODLQHG WKDW ³DLGLQJ DQG DEHWWLQJ IRFXVHV RQ WKH UHODWLRQVKLS EHWZHHQ WKH DFW RI

LQWHUQDWLRQDO WHUURULVP´ KHUH WKH  $WWDFNV  ³DQG WKH VHFRQGDU\ DFWRU¶V DOOHJHG VXSSRUWLYH

FRQGXFW´ KHUH6XGDQ¶VDOOHJHGDFWLYLW\ Linde v. Arab Bank, PLC)G G&LU

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        $VH[SODLQHGDERYHWKH$PHQGHG&RPSODLQWVIDLOWRDOOHJHIDFWVVXIILFLHQWWRVXSSRUWD

FDXVDOFRQQHFWLRQ RIDQ\NLQG EHWZHHQ6XGDQ¶VDOOHJHGPDWHULDOVXSSRUWDQGWKH$WWDFNV

$7$FODLPVDJDLQVW6XGDQPXVWWKHUHIRUHEHGLVPLVVHGIRUWKDWUHDVRQDORQH

                       7KH$PHQGHG&RPSODLQWV)DLOWR$OOHJHWKDW6XGDQ:DV*HQHUDOO\
                        $ZDUHWKDW,W:DV6XEVWDQWLDOO\$VVLVWLQJ$O4DHGDZLWKWKH
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        7KH5HSRUWLVLQFRUUHFWWRFRQFOXGH DW WKDW3ODLQWLIIVKDYHSODXVLEO\DOOHJHGWKDW  

6XGDQ ZDV JHQHUDOO\ DZDUH WKDW LW ZDV DLGLQJ D NQRZQ WHUURULVW RUJDQL]DWLRQ DQG  6XGDQ

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DGHIHQGDQWNQRZLWLVSURYLGLQJVHUYLFHVWRDdesignated IRUHLJQWHUURULVWRUJDQL]DWLRQ ³)72´ 


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DQGDO4DHGDZDVQRWGHVLJQDWHGDVDQ)72XQWLOVHYHUDO\HDUVDIWHU6XGDQH[SHOOHG%LQ

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UHTXLUHVPRUHWKDQWKHSURYLVLRQRIPDWHULDOVXSSRUWWRDGHVLJQDWHGWHUURULVWRUJDQL]DWLRQ´ <HW

WKH5HSRUWIDLOVWRDFNQRZOHGJHWKDW6XGDQ¶VDOOHJHGSURYLVLRQRIPDWHULDOVXSSRUWRFFXUUHG\HDUV

EHIRUHDO4DHGD¶VGHVLJQDWLRQDVDWHUURULVWRUJDQL]DWLRQ

        7KH 5HSRUW IXUWKHU HUURQHRXVO\ FRQFOXGHV WKDW 6XGDQ NQRZLQJO\ SURYLGHG VXEVWDQWLDO

DVVLVWDQFHWRDO4DHGDE\UHO\LQJRQJHQHUDOL]HGDQGWHQXRXVOLQNVEHWZHHQ6XGDQDQGDO4DHGD

WKDWDUHQRWLQDQ\ZD\OLQNHGWRWKH$WWDFNV7KH5HSRUWDJDLQRYHUORRNVWKHIRXQGDWLRQDO

SULQFLSOHWKDW³>L@WLVQRWHQRXJKWKDWDGHIHQGDQWSURYLGHVXEVWDQWLDODVVLVWDQFHWRDWRUWIHDVRUWKH

µVXEVWDQWLDODVVLVWDQFH¶PXVWDOVRµDGYDQFHWKH>WRUW¶V@FRPPLVVLRQ¶´Mastafa v. Australian Wheat

Bd. Ltd.1RFY:/DW  6'1<6HSW  TXRWLQJLerner v.

Fleet Bank, N.A.)G G&LU 1RQHRIWKH5HSRUW¶VFRQFOXVLRQV DW DV

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                       7KH$PHQGHG&RPSODLQWV)DLOWR$OOHJHWKDW6XGDQ&RQVSLUHGZLWK
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        ,QFRQFOXGLQJ³3ODLQWLIIVKDYHSOHDGHGHQRXJKWRLQIHUDFRQVSLUDF\WRFRPPLWLQWHUQDWLRQDO

DFWVRIWHUURUDJDLQVWWKH8QLWHG6WDWHV´WKH5HSRUWIDLOVWRFLWHDVLQJOHDOOHJDWLRQDQGLQVWHDGUHOLHV

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5HSRUWKDVVRHUURQHRXVO\EURDGHQHGWKHFRQVSLUDF\VWDQGDUGWKDWLWKDVUHPRYHGWKHHYHQWthat is

supposed to be the object of the conspiracy  7KH 5HSRUW¶V FRQFOXVLRQ LJQRUHV WKLV &RXUW¶V

UHTXLUHPHQWWKDWDSODLQWLIIPXVWDWPLQLPXPSODXVLEO\DOOHJHWKDW³'HIHQGDQWVZHUHLQYROYHGLQ

DQDJUHHPHQWWRDFFRPSOLVKDQXQODZIXODFWDQGWKDWWKHDWWDFNVRI6HSWHPEHUZHUHDreasonably



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foreseeable consequenceRIWKDWFRQVSLUDF\´In re Terrorist Attacks on Sept. 11, 2001)

6XSSG 6'1<  HPSKDVLVDGGHG $VGLVFXVVHG3ODLQWLIIVGRQRWDQGFDQQRW

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        %     7KH5HSRUW,QFRUUHFWO\&RQFOXGHVWKDWWKH$PHQGHG&RPSODLQWV6WDWH
                &ODLPVIRU$VVDXOW%DWWHU\DQG7UHVSDVV

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        &RQWUDU\WRWKH5HSRUW¶VDVVHUWLRQ DW WKDW³QRHYLGHQFHVXJJHVWVWKDW&RQJUHVVLQWHQGHG

$RU%WRSUHHPSWVWDWHODZ´WKHWH[WVRIWKHVWDWXWHVSURYLGHDPSOHHYLGHQFHRI

&RQJUHVVLRQDOLQWHQWIRUSUHHPSWLRQDQG3ODLQWLIIVVKRXOGWKXVQRWEHSHUPLWWHGWRDVVHUWVWDWHODZ

WRUW FODLPV DJDLQVW 6XGDQ  )LUVW WKH 5HSRUW FLWHV DW   WKH UHMHFWLRQ RI 6XGDQ¶V SUHHPSWLRQ

DUJXPHQW LQ Owens v. Republic of Sudan  )G   '& &LU    Owens LWVHOI

DFNQRZOHGJHG WKDW  GRHV QRW DSSO\ WR $ WKRXJK Owens DQG WKH 5HSRUW DW  

DWWHPSWWROLPLWWKLVWRWKHLVVXHRISXQLWLYHGDPDJHV,QDQ\HYHQWWKH5HSRUW¶VLQWHUSUHWDWLRQ

FUHDWHVDQLUUHFRQFLODEOHFRQIOLFWEHWZHHQ$DQG%RQWKHRQHKDQGDQGRQ

WKH RWKHU EHFDXVH E\ LWV WHUPV  DSSOLHV RQO\ WR FDVHV EURXJKW ³XQGHU  DQG ´

&RQVHTXHQWO\6XGDQ¶VLQWHUSUHWDWLRQIXOILOOV&RQJUHVVLRQDOLQWHQWWRDYRLGFRQIOLFWLQJVWDWXWHV

        7KH5HSRUW DW DOVRFLWHVLeibovitch v. Islamic Republic of Iran)G WK

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FODLPDQW¶V DELOLW\ WR SXUVXH FODLPV XQGHU DSSOLFDEOH VWDWH RU IRUHLJQ ODZ XSRQ WKH ZDLYHU RI

VRYHUHLJQLPPXQLW\´6XGDQDJUHHV$GRHVQRWSUHYHQWFODLPDQWVIURPEULQJLQJVWDWHODZ

FODLPVXQGHURU%XWVXFKFODLPVFDQQRWEHEURXJKWXQGHU$

        &RQWUDU\WRWKH5HSRUW¶VFRQFOXVLRQ DW &RQJUHVVKDVLQGLFDWHGD³FOHDUDQGPDQLIHVW

SXUSRVH´ WKDW UHTXLUHV D KROGLQJ RI SUHHPSWLRQ RI VWDWHODZ FODLPV IRU DFWLRQV EURXJKW XQGHU



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&RQJUHVVGLGQRWDPHQGWRDSSO\WRHLWKHU$RU%$ F DQG% F 

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³SHUYDVLYH UHJXODWRU\ VFKHPH´ SUHVHQW LQ  $ DQG  % EHFDXVH ³IDPLO\ PHPEHUV RI

IRUHLJQ QDWLRQDOV FDQQRW XVH >WKHVH VWDWXWHV@´  5 5  TXRWLQJ Rice  86 DW    7KH

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ILHOG RI WHUURULVPUHODWHG VXLWV´ DJDLQVW IRUHLJQ VWDWHV  5 5  HPSKDVLV DGGHG   &RQJUHVV

HQDFWHG WKHVH VWDWXWHV WR H[FOXVLYHO\ UHJXODWH WKHVH W\SHV RI VXLWV WKH H[FOXVLRQ RI D QDUURZ

FDWHJRU\RIFODLPDQWVGRHVQRWQHJDWHWKHZLGHVSUHDGUHDFKRIWKHVWDWXWHVLQWKLVFRQWH[W

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Verlinden B.V. v. Cent. Bank of Nigeria  86      $V WR WKH WKLUG

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GLSORPDWLFSDVVSRUWVDQGUHVRXUFHVWKDWDOORZHGLWWRWUDQVIRUPLQWRDVRSKLVWLFDWHGZRUOGZLGH

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